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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 21-82107-CV-MIDDLEBROOKS/Matthewman

  DANIELLE GREENBERG, individually and
  on behalf of all others similarly situated,

          Plaintiff,

  v.

  HP INC.,

          Defendant.
                                             __        /

                   ORDER DENYING WITHOUT PREJUDICE MOTION TO
                             MODIFY THE TRIAL DATE

          THIS CAUSE comes before the Court upon Defendant’s Unopposed Motion to Modify the

  Trial Date (“Motion”), filed January 11, 2022. (DE 23). The Order setting trial in this case was

  entered on January 4, 2022. (DE 16). Defendant requests a modification of the August 1, 2022 trial

  date due to counsel’s anticipated unavailability. In support, defense counsel represents that she is

  a single mother of two teenagers expected to begin college in August 2022, and therefore, counsel

  expects to be traveling at least twice that month.

          At this time, I will deny the motion because counsel’s anticipated conflict with the trial

  date appears to be somewhat speculative. This denial is without prejudice, however. Once counsel

  obtains additional information as to her dates and places of travel, should those dates conflict with

  the trial date or otherwise make counsel’s ability to prepare for trial impracticable, I would be

  inclined to grant a continuance for good cause shown upon a renewed motion.

          The Parties are reminded that they may, at any time, consent to the jurisdiction of United

  States Magistrate Judge William Matthewman, who generally affords litigants great flexibility in

  the setting of a pretrial schedule and trial date.
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        For the foregoing reasons, it is ORDERED AND ADJUDGED that Defendant’s

  Unopposed Motion to Modify the Trial Date (DE 23) is DENIED WITHOUT PREJUDICE.

        SIGNED in Chambers at West Palm Beach, Florida, this 13th day of January, 2022.




                                                         Donald M. Middlebrooks
                                                         United States District Judge

  cc:   Counsel of Record




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